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                                    IN THE UNITED STATES DISTRICT COURT
                                         FOR THE DISTRICT OF OREGON

      JEFFREY LOCKER,                                        Case No. 2:19-CV-01720-YY

                       Plaintiff,                            NOTICE OF SETTLEMENT

              v.

     THE STATE OF OREGON,

                       Defendant.
              Pursuant to ORS 17.095, the State notifies the court that this action has been settled

     pursuant to the terms of a Settlement Agreement and Release, a copy of which is attached as

     Exhibit 1.

              DATED July 26 , 2022.
                                                           Respectfully submitted,
                                                           ELLEN F. ROSENBLUM
                                                           Attorney General



                                                               s/ Robert E. Sullivan
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